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 6
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10   GRACE CHO,                                Case No.:
11                Plaintiff,                   COMPLAINT FOR INJUNCTIVE
                                               RELIEF AND DAMAGES FOR
12         vs.                                 VIOLATION OF:
13                                             1. AMERICANS WITH DISABILITIES
                                               ACT, 42 U.S.C. §12131 et seq.;
14
     FATEMEH KARIMGHAFAB D/B/A                 2. CALIFORNIA’S UNRUH CIVIL
15   BUTTERFLY BEAUTY SALON; MARK              RIGHTS ACT, CAL CIV. CODE §§ 51 -
     MILLMAN, AS TRUSTEE OF THE                52 et seq.;
16
     LYNN MILLMAN TESTAMENTARY                 3. CALIFORNIA’S DISABLED
17   TRUST; and DOES 1 to 10,                  PERSONS ACT, CAL CIV. CODE §54 et
                                               seq.
18                Defendants.
                                               4. CALIFORNIA HEALTH & SAFETY
19                                             CODE § 19955, et seq.
20                                             5. NEGLIGENCE
21
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23
24
25
26         Plaintiff GRACE CHO (“Plaintiff”) complains of Defendants FATEMEH
27   KARIMGHAFAB D/B/A BUTTERFLY BEAUTY SALON; MARK MILLMAN, AS
28




                                        COMPLAINT - 1
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 1   TRUSTEE OF THE LYNN MILLMAN TESTAMENTARY TRUST; and DOES 1 to 10
 2   (“Defendants”) and alleges as follows:
 3                                             PARTIES
 4         1.     Plaintiff is a California resident with a physical disability. Plaintiff is
 5   substantially limited in her ability to walk and requires the use of a wheelchair at all times
 6   when traveling in public.
 7         2.     Defendants are, or were at the time of the incident, the real property owners,
 8   business operators, lessors and/or lessees of the real property for BUTTERFLY
 9   BEAUTY SALON (“Business”) located at or about 6549 Topanga Canyon Blvd.,
10   Canoga Park, California.
11         3.     The true names and capacities, whether individual, corporate, associate or
12   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
13   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
14   Court to amend this Complaint when the true names and capacities have been
15   ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
16   fictitiously named Defendants are responsible in some manner, and therefore, liable to
17   Plaintiff for the acts herein alleged.
18         4.     Plaintiff is informed and believes, and thereon alleges that, at all relevant
19   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
20   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
21   the things alleged herein was acting with the knowledge and consent of the other
22   Defendants and within the course and scope of such agency or employment relationship.
23         5.     Whenever and wherever reference is made in this Complaint to any act or
24   failure to act by a defendant or Defendants, such allegations and references shall also be
25   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
26   and severally.
27   //
28   //



                                              COMPLAINT - 2
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 1                                JURISDICTION AND VENUE
 2           6.    The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
 3   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
 4   seq.)
 5           7.    Pursuant to pendant jurisdiction, attendant and related causes of action,
 6   arising from the same nucleus of operating facts, are also brought under California law,
 7   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 8   54, 54., 54.3 and 55.
 9           8.    Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
10           9.    Venue is proper in this court pursuant to 28 USC §1391(b). The real
11   property which is the subject of this action is located in this district, Los Angeles County,
12   California, and that all actions complained of herein take place in this district.
13                                  FACTUAL ALLEGATIONS
14           10.   On or about February 14, 2020, Plaintiff went to the Business. On or about
15   March 12, 2020, Plaintiff went to the Business again.
16           11.   The Business is a beauty salon business establishment, open to the public, a
17   place of public accommodation and affects commerce through its operation.
18           12.   While attempting to enter the Business during each visit, Plaintiff personally
19   encountered a number of barriers that interfered with her ability to use and enjoy the
20   goods, services, privileges, and accommodations offered at the Business.
21           13.   To the extent of Plaintiff’s personal knowledge, the barriers at the Business
22   included, but were not limited to, the following:
23                 a.    Defendants failed to comply with the federal and state standards for
24                       the parking space designated for persons with disabilities. Defendants
25                       failed to provide the parking space identification sign with the
26                       International Symbol of Accessibility.
27                 b.    Defendants failed to comply with the federal and state standards for
28                       the parking space designated for persons with disabilities. Defendants



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 1                       failed to post required signage such as “Van Access,” “Minimum Fine
 2                       $250” or “Unauthorized Parking.”
 3                c.     Defendant failed to maintain the parking space designated for persons
 4                       with disabilities to comply with the federal and state standards.
 5                       Defendants failed to provide the access aisles with level surface
 6                       slopes.
 7                d.     Defendant failed to maintain the parking space designated for persons
 8                       with disabilities to comply with the federal and state standards.
 9                       Defendants failed to provide a proper ramp for the persons with
10                       disabilities.
11                e.     Defendant failed to maintain the parking space designated for persons
12                       with disabilities to comply with the federal and state standards.
13                       Defendants failed to maintain the facility to be readily
14                       accessible.
15         14.    These barriers and conditions denied Plaintiff the full and equal access to the
16   Business and caused her difficulty and frustration. The Business is conveniently located.
17   Plaintiff wishes to return and patronize the Business, however, Plaintiff is deterred from
18   visiting the Business because her knowledge of these violations prevents her from
19   returning until the barriers are removed.
20         15.    Based on the violations, Plaintiff alleges, on information and belief, that
21   there are additional barriers to accessibility at the Business after further site inspection.
22   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
23   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
24         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
25   knew that particular barriers render the Business inaccessible, violate state and federal
26   law, and interfere with access for the physically disabled.
27         17.    At all relevant times, Defendants had and still have control and dominion
28   over the conditions at this location and had and still have the financial resources to



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 1   remove these barriers without much difficulty or expenses to make the Business
 2   accessible to the physically disabled in compliance with ADDAG and Title 24
 3   regulations. Defendants have not removed such barriers and have not modified the
 4   Business to conform to accessibility regulations.
 5                                   FIRST CAUSE OF ACTION
 6       VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 7         18.    Plaintiff incorporates by reference each of the allegations in all prior
 8   paragraphs in this complaint.
 9         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
10   shall be discriminated against on the basis of disability in the full and equal enjoyment of
11   the goods, services, facilities, privileges, advantages, or accommodations of any place of
12   public accommodation by any person who owns, leases, or leases to, or operates a place
13   of public accommodation. See 42 U.S.C. § 12182(a).
14         20.    Discrimination, inter alia, includes:
15                a.    A failure to make reasonable modification in policies, practices, or
16                      procedures, when such modifications are necessary to afford such
17                      goods, services, facilities, privileges, advantages, or accommodations
18                      to individuals with disabilities, unless the entity can demonstrate that
19                      making such modifications would fundamentally alter the nature of
20                      such goods, services, facilities, privileges, advantages, or
21                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
22                b.    A failure to take such steps as may be necessary to ensure that no
23                      individual with a disability is excluded, denied services, segregated or
24                      otherwise treated differently than other individuals because of the
25                      absence of auxiliary aids and services, unless the entity can
26                      demonstrate that taking such steps would fundamentally alter the
27                      nature of the good, service, facility, privilege, advantage, or
28




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 1                       accommodation being offered or would result in an undue burden. 42
 2                       U.S.C. § 12182(b)(2)(A)(iii).
 3                c.     A failure to remove architectural barriers, and communication barriers
 4                       that are structural in nature, in existing facilities, and transportation
 5                       barriers in existing vehicles and rail passenger cars used by an
 6                       establishment for transporting individuals (not including barriers that
 7                       can only be removed through the retrofitting of vehicles or rail
 8                       passenger cars by the installation of a hydraulic or other lift), where
 9                       such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
10                d.     A failure to make alterations in such a manner that, to the maximum
11                       extent feasible, the altered portions of the facility are readily
12                       accessible to and usable by individuals with disabilities, including
13                       individuals who use wheelchairs or to ensure that, to the maximum
14                       extent feasible, the path of travel to the altered area and the
15                       bathrooms, telephones, and drinking fountains serving the altered
16                       area, are readily accessible to and usable by individuals with
17                       disabilities where such alterations to the path or travel or the
18                       bathrooms, telephones, and drinking fountains serving the altered
19                       area are not disproportionate to the overall alterations in terms of cost
20                       and scope. 42 U.S.C. § 12183(a)(2).
21         21.    Where parking spaces are provided, accessible parking spaces shall be
22   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
23   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
24   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
25   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
26   be van parking space. 2010 ADA Standards § 208.2.4.
27         22.    Under the ADA, the method and color of marking are to be addressed by
28   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California



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 1   Building Code (“CBC”), the parking space identification signs shall include the
 2   International Symbol of Accessibility. Parking identification signs shall be reflectorized
 3   with a minimum area of 70 square inches. Additional language or an additional sign
 4   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
 5   parking space identification sign shall be permanently posted immediately adjacent and
 6   visible from each parking space, shall be located with its centerline a maximum of 12
 7   inches from the centerline of the parking space and may be posted on a wall at the
 8   interior end of the parking space. See CBC § 11B-502.6, et seq.
 9         23.    Moreover, an additional sign shall be posted either in a conspicuous place at
10   each entrance to an off-street parking facility or immediately adjacent to on-site
11   accessible parking and visible from each parking space. The additional sign shall not be
12   less than 17 inches wide by 22 inches high. The additional sign shall clearly state in
13   letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
14   designated accessible spaces not displaying distinguishing placards or special license
15   plates issued for persons with disabilities will be towed always at the owner’s expense…”
16   See CBC § 11B-502.8, et seq.
17         24.    Here, Defendants failed to provide any parking space designated for persons
18   with disabilities. Defendants also failed to provide the parking space identification sign
19   with the International Symbol of Accessibility. In addition, Defendants failed to provide
20   signs stating “Minimum fine $250” or “Van Accessible.” Moreover, Defendants failed to
21   provide the additional sign with the specific languages stating “Unauthorized vehicles
22   parked in designated accessible spaces not displaying distinguishing placards or special
23   license plates issued for persons with disabilities will be towed always at the owner’s
24   expense…”
25         25.    Under the 1991 Standards, parking spaces and access aisles must be level
26   with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
27   Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
28   shall be part of an accessible route to the building or facility entrance and shall comply



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 1   with 4.3. Two accessible parking spaces may share a common access aisle. Parked
 2   vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
 3   and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
 4   directions. 1991 Standards § 4.6.3.
 5         26.    Here, the access aisles are not level with the parking spaces. Under the 2010
 6   Standards, access aisles shall be at the same level as the parking spaces they serve.
 7   Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
 8   to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
 9   2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted. 2010
10         27.    The cross slope of ramp surfaces shall be no greater than 1:50. Ramp
11   surfaces shall comply with 4.5. 1991 Standards § 4.8.6. Ramps and landings with drop-
12   offs shall have curbs, walls, railings, or projecting surfaces that prevent people from
13   slipping off the ramp. Curbs shall be a minimum of 2 in (50 mm) high. 1991 Standards §
14   4.8.7. Outdoor ramps and their approaches shall be designed so that water will not
15   accumulate on walking surfaces. 1991 Standards § 4.8.8. Ground and floor surfaces
16   along accessible routes and in accessible rooms and spaces including floors, walks,
17   ramps, stairs, and curb ramps, shall be stable, firm, slip-resistant, and shall comply with
18   4.5. 1991 Standards § 4.5.1.
19
           28.    Here, Defendants failed to provide a compliant ramp for the access aisle.
20
           29.    At least one accessible route shall connect accessible building, facilities,
21
     elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
22
     accommodation shall maintain in operable working condition those features of facilities
23
     and equipment that are required to be readily accessible to and usable by persons with
24
     disabilities by the Act or this part. 28 C.F.R. 35.211(a).
25
           30.    Here, the pathway from the access aisle to the entrance was blocked by a
26
     bollard.
27
28




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 1         31.    A public accommodation shall maintain in operable working condition those
 2   features of facilities and equipment that are required to be readily accessible to and usable
 3   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
 4   maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 5   violation of Plaintiff’s rights under the ADA and its related regulations.
 6         32.    The Business has denied and continues to deny full and equal access to
 7   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 8   discriminated against due to the lack of accessible facilities, and therefore, seeks
 9   injunctive relief to alter facilities to make such facilities readily accessible to and usable
10   by individuals with disabilities.
11                                SECOND CAUSE OF ACTION
12                   VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
13         33.    Plaintiff incorporates by reference each of the allegations in all prior
14   paragraphs in this complaint.
15         34.    California Civil Code § 51 states, “All persons within the jurisdiction of this
16   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
17   national origin, disability, medical condition, genetic information, marital status, sexual
18   orientation, citizenship, primary language, or immigration status are entitled to the full
19   and equal accommodations, advantages, facilities, privileges, or services in all business
20   establishments of every kind whatsoever.”
21         35.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
22   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
23   for each and every offense for the actual damages, and any amount that may be
24   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
25   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
26   attorney’s fees that may be determined by the court in addition thereto, suffered by any
27   person denied the rights provided in Section 51, 51.5, or 51.6.
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 1          36.    California Civil Code § 51(f) specifies, “a violation of the right of any
 2    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 3    shall also constitute a violation of this section.”
 4          37.    The actions and omissions of Defendants alleged herein constitute a denial
 5    of full and equal accommodation, advantages, facilities, privileges, or services by
 6    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 7    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 8    51 and 52.
 9          38.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
10    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
11    damages as specified in California Civil Code §55.56(a)-(c).
12                                   THIRD CAUSE OF ACTION
13                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
14          39.    Plaintiff incorporates by reference each of the allegations in all prior
15    paragraphs in this complaint.
16          40.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
17    entitled to full and equal access, as other members of the general public, to
18    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
19    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
20    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
21    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
22    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
23    places of public accommodations, amusement, or resort, and other places in which the
24    general public is invited, subject only to the conditions and limitations established by
25    law, or state or federal regulation, and applicable alike to all persons.
26          41.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
27    corporation who denies or interferes with admittance to or enjoyment of public facilities
28    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an



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 1    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 2    the actual damages, and any amount as may be determined by a jury, or a court sitting
 3    without a jury, up to a maximum of three times the amount of actual damages but in no
 4    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 5    determined by the court in addition thereto, suffered by any person denied the rights
 6    provided in Section 54, 54.1, and 54.2.
 7          42.    California Civil Code § 54(d) specifies, “a violation of the right of an
 8    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 9    constitute a violation of this section, and nothing in this section shall be construed to limit
10    the access of any person in violation of that act.
11          43.    The actions and omissions of Defendants alleged herein constitute a denial
12    of full and equal accommodation, advantages, and facilities by physically disabled
13    persons within the meaning of California Civil Code § 54. Defendants have
14    discriminated against Plaintiff in violation of California Civil Code § 54.
15          44.    The violations of the California Disabled Persons Act caused Plaintiff to
16    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
17    statutory damages as specified in California Civil Code §55.56(a)-(c).
18                                 FOURTH CAUSE OF ACTION
19                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
20          45.    Plaintiff incorporates by reference each of the allegations in all prior
21    paragraphs in this complaint.
22          46.    Plaintiff and other similar physically disabled persons who require the use of
23    a wheelchair are unable to use public facilities on a “full and equal” basis unless each
24    such facility is in compliance with the provisions of California Health & Safety Code §
25    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
26    provisions of California Health & Safety Code § 19955 et seq.
27          47.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
28    that public accommodations or facilities constructed in this state with private funds



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 1    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 2    Title 1 of the Government Code. The code relating to such public accommodations also
 3    require that “when sanitary facilities are made available for the public, clients, or
 4    employees in these stations, centers, or buildings, they shall be made available for
 5    persons with disabilities.
 6           48.    Title II of the ADA holds as a “general rule” that no individual shall be
 7    discriminated against on the basis of disability in the full and equal enjoyment of goods
 8    (or use), services, facilities, privileges, and accommodations offered by any person who
 9    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
10    Further, each and every violation of the ADA also constitutes a separate and distinct
11    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
12    award of damages and injunctive relief pursuant to California law, including but not
13    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
14                                    FIFTH CAUSE OF ACTION
15                                          NEGLIGENCE
16           49.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18           50.    Defendants have a general duty and a duty under the ADA, Unruh Civil
19    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
20    to the Plaintiff.
21           51.    Defendants breached their duty of care by violating the provisions of ADA,
22    Unruh Civil Rights Act and California Disabled Persons Act.
23           52.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
24    has suffered damages.
25                                      PRAYER FOR RELIEF
26           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
27    Defendants as follows:
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                                             COMPLAINT - 12
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 1          1.     For preliminary and permanent injunction directing Defendants to comply
 2    with the Americans with Disability Act and the Unruh Civil Rights Act;
 3          2.     Award of all appropriate damages, including but not limited to statutory
 4    damages, general damages and treble damages in amounts, according to proof;
 5          3.     Award of all reasonable restitution for Defendants’ unfair competition
 6    practices;
 7          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 8    action;
 9          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
10          6.     Such other and further relief as the Court deems just and proper.
11
12                               DEMAND FOR TRIAL BY JURY
13          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
14    demands a trial by jury on all issues so triable.
15
16    Dated: July 15, 2020                    SO. CAL. EQUAL ACCESS GROUP
17
18
19                                            By:   _/s/ Jason Yoon_______________
                                                    Jason Yoon, Esq.
20                                            Attorneys for Plaintiff
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                                            COMPLAINT - 13
